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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

NASSIM HARAMEIN,                                 §
          Plaintiff,                             §
                                                 §        CIVIL ACTION No. 1:24-cv-775
v.                                               §
                                                 §
RATIONALWIKI FOUNDATION, INC.                    §
d/b/a RATIONALMEDIA FOUNDATION,                  §        JURY DEMANDED
TRENT TOULOUSE, JOHN DOES 1-7                    §
and JOHN DOES 8-1000,                            §
            Defendants.                          §
                                                 §


                                COMPLAINT FOR DAMAGES


        COMES NOW the Plaintiff, NASSIM HARAMEIN, by and through undersigned

Counsel, and hereby respectfully complains and shows as follows.

                            PARTIES, JURISDICTION & VENUE

     1. Plaintiff Nassim Haramein is a U.S. citizen and resident of France.

     2. Plaintiff RationalWiki Foundation, Inc. d/b/a RationalMedia Foundation, is a New

Mexico nonprofit corporation and 501(c)(3), EIN XX-XXXXXXX, with its principal place(s) of

business located at 530-B Harkle Rd, Ste 100, Santa Fe, NM 87505, and/or 122 Girard Ave NE

Albuquerque, NM 87106, and/or 1209 Mountain Rd Pl NE, Ste R, Albuquerque, NM 87110.

     3. Defendant Trent Toulouse is a resident of Albuquerque, New Mexico, and is Operations

Manager and Board Trustee of Defendant RationalWiki Foundation, Inc.

     4. Defendant John Doe 1 is an anonymous Board Trustee for Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “Spud.”

     5. Defendant John Doe 2 is an anonymous Board Trustee for Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “cosmikdebris.”
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   6. Defendant John Doe 3 is an anonymous former Board Trustee of Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “GrammarCommie.”

   7. Defendant John Doe 4 is an anonymous former Board Trustee of Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “FuzzyCatPotato.”

   8. Defendant John Doe 5 is an anonymous former Board Trustee of Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “Stabby the Misanthrope.”

   9. Defendant John Doe 6 is an anonymous former Board Trustee of Defendant RationalWiki

Foundation, Inc., who goes by the online pseudonym “Scream!!”

   10. Defendant John Doe 7 is an anonymous former Board Trustee of RationalWiki

Foundation, Inc., who goes by the online pseudonym “Blue.”

   11. John Does 8-1000 are anonymous editors, sysops, techs and moderators of a website

operated by Defendant RationalWiki Foundation, Inc., and are presently unknown to Plaintiff.

   12. The Court has personal jurisdiction over the parties.

   13. Plaintiff invokes the Court’s subject matter jurisdiction per 28 U.S.C. § 1332, because the

matter in controversy exceeds the sum or value of $75,000, exclusive of costs and interest, and

because no Defendant is a resident of the same state as the Plaintiff.

   14. Venue is proper before the Court.

                                  GENERAL ALLEGATIONS

   I.      RATIONALWIKI FOUNDATION, INC. IS AN INFORMATION CONTENT
           PROVIDER

   15. Defendant RationalWiki Foundation, Inc. (hereinafter, “RWF”) hosts, maintains and

operates a website, with the domain name https://rationalwiki.org (hereinafter, “RationalWiki”).

   16. RationalWiki has over 8,000 discrete articles and millions of unique monthly visitors.

   17. In a RationalWiki article titled “Legal FAQ”—which was created by Defendant Toulouse



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and has been edited by past Trustee and current tech David Gerard, as well as Defendants

Toulouse, FuzzyCatPotato, and cosmikdebris—RationalWiki is described a “content producer.”

   18. Almost any third-party internet user may “edit” RationalWiki articles.

   19. An “editor” of RationalWiki is not merely someone who edits in the sense of correcting,

condensing, or modifying content authored by others. Rather, RationalWiki “editors” may also

“edit” by contributing original content to, and creating, articles on RationalWiki.

   20. RationalWiki’s “Community Standards” page states, inter alia, that: (i) Rational Wiki

articles should take a “snarky” tone; (ii) RationalWiki has a “scientific point of view,” meaning

that “our articles take the side of the scientific consensus on an issue”; and (iii) all content on

RationalWiki must conform to the “RationalWiki Mission,” i.e.,

               1. Analyzing and refuting pseudoscience and the anti-science movement; 2.
               Documenting the full range of crank ideas; 3. Explorations of authoritarianism
               and fundamentalism; 4. Analysis and criticism of how these subjects are handled
               in the media.

   21. A particular and readily identifiable left-of-center view of what constitutes scientific

orthodoxy prevails across all RationalWiki articles, with virtually no variation.

   22. Various other policy pages on RationalWiki explicate and clarify this viewpoint.

   23. Articles that are not “on mission” are deleted and editors who do not uphold RWF’s

Mission are banned from contributing.

   24. RationalWiki’s Mission is so rigid and dogmatic that, e.g., an article on RationalWiki

about world-renown physicist Michio Kaku describes Kaku as “a crank” who has “unorthodox

views,” and compares Kaku to notorious conspiracy theorist David Icke.

   25. Certain specialized editors including techs, moderators, and sysops are given authority to

block and censor other editors and content in order to enforce the “Mission.”




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   26. While there are over 1000 sysops, there are only 17 techs and six moderators. Techs and

moderators have more extensive authority to block and censor than sysops and other editors do.

   27. This core of moderators, techs and sysops, including Defendants Toulouse and John Does

1-7, aggressively enforce RationalWiki’s “Mission” and viewpoint.

   28. No particular background, knowledge, or credential—academic, scholarly, or other—is

required to be a tech, moderator, sysop, or editor of RationalWiki.

   29. Most editors, techs, moderators and sysops are anonymous, including John Does 1-1000.

   30. Current techs include Defendants Toulouse and “cosmikdebris.”

   31. Past RWF Trustee David Gerard is also a current tech, and operates RWF’s X account.

   32. Current moderators include Defendant “Spud.”

   33. Current sysops include Defendants “Blue,” “Spud,” and “cosmikdebris.”

   34. RWF solicits donations on RationalWiki and on https://rationalweb.org/.

   35. Prior to 2010, RationalWiki's domains were registered to Defendant Trent Toulouse.

   36. In 2010, Toulouse incorporated RWF.

   37. RWF is overseen by a Board of Trustees and an Operations Manager.

   38. Toulouse is RWF’s Operations Manager.

   39. Toulouse has been Trustee and Operations Manager continuously since 2010.

   40. As Operations Manager, Toulouse has the sole ability to alter settings and create

functions and extensions on the site server.

   II.     DEFENDANTS ARE DEFAMING PLAINTIFF

   41. Plaintiff is a physicist, author, and lecturer who also owns and operates several

corporations, both for-profit, and non-profit, including International Space Federation, Ark

Crystal LLC, Torus Tech LLC, and Resonance Science Foundation.




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   42. Plaintiff is not a public figure.

   43. Wikipedia articles about Plaintiff have repeatedly been deleted on notability grounds.

   44. Mr. Haramein’s work has been lauded by numerous physicists, including Louis

Kauffman, Peter Rowlands, Peter Milonni, and the late Elizabeth Rauscher.

   45. Dr. Rauscher published with Mr. Haramein and regarded him highly.

   46. Dr. Rauscher’s career included scientifically substantive work for Livermore National

Labs, the Stanford Research Institute, and NASA.

   47. Mr. Haramein has presented his work at mainstream scientific conferences and has been

awarded best paper at a CASYS-09 conference.

   48. All of Mr. Haramein’s publications are published in peer reviewed scientific journals.

   49. Peer review of Mr. Haramein’s work has been published alongside his publications.

   50. RationalWiki contains an article titled “Nassim Haramien,” located at

https://rationalwiki.org/wiki/Nassim_Haramein.

   51. The article is dedicated to disparaging Mr. Haramein and his work.

   52. The article has been published on RationalWiki since 2013.

   53. Defendants Toulouse and John Does 1-1000 have each “edited” the article.

   54. Defendant Toulouse is not a physicist.

   55. John Does 1-1000 lack formal post-secondary and post-graduate training in physics.

   56. The page falsely states that Mr. Haramein is “an amateur physicist.”

   57. The page falsely suggests that Mr. Haramein’s work is illegitimate because he is an

autodidact.

   58. The page falsely states that,




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       [Mr. Haramein’s] self-promotion and outreach is considered cult-like, and like many
       pseudoscientists, he is good at impressing people who have little to no understanding of
       modern physics, scientific research, or skepticism.

   59. The page does not indicate who considers Mr. Haramein’s self-promotion and outreach to

be cult-like, or just what about Mr. Haramein’s self-promotion and outreach is “cult-like.”

   60. The page falsely states that,

       Haramein's work is ignored by mainstream physicists because it is pseudoscience with no
       evidentiary support.

   61. The page falsely states that,

       Few scientists bother to respond to Haramein because even the most basic review shows
       his models to be based on flawed mathematics and wrong assumptions, with “proofs” that
       quickly become circular and self-referential.

   62. The page falsely states that Mr. Haramein’s collaborator, the late Dr. Rauscher, was a

“fringe” scientist, implying that legitimate scientists do not associate with Mr. Haramein.

   63. The page falsely states that Mr. Haramein’s paper on the Schwartzschild Proton has been

“debunked.”

   64. No academic or scientific publication has ever “debunked” Mr. Haramein’s

Schwartzschild Proton paper.

   65. The page refers disparagingly to a paper written by Mr. Haramein, titled, “Quantum

Gravity and the Holographic Mass,” that was submitted for peer review in the journal Physical

Review and Research International, part of Science Domain International (“SDI”) publishers.

   66. In December 2012, before the aforesaid paper was published, Mr. Haramein registered a

copyright for the paper at the Library of Congress, copyright no. TXu001843342.

   67. In the aforesaid paper, Mr. Haramein utilized Planck spherical units (PSU) to describe the

holographic vacuum fluctuations, and predict the charge radius, of the proton.




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   68. Shortly thereafter, in January 2013, a new muonic measurement of the proton, performed

by a team of respected, mainstream academic physicists, including from the Max Planck

Institute, was published in the journal Science (DOI: 10.1126/science.1230016).

   69. The aforesaid measurement agreed with Mr. Haramein’s prediction of the proton’s change

radius—i.e., Mr. Haramein’s prediction fell within the margin of error of the experiment.

   70. In referring to the aforesaid article by Mr. Haramein, the RationalWiki article about him

claims that SDI will publish anything for a fee, with no genuine process of peer review.

   71. In 2013, the journal Science performed a sting operation on open access journals and

ended up whitelisting SDI as having an authentic peer review process.

   72. Of the hundreds of edits that have been made to the RationalWiki article about Mr.

Haramein since 2013, several have been positive or balanced in regard to Mr. Haramein’s work.

   73. All of these positive or balanced edits have been removed by David Gerard and John

Does 1-1000, including Defendant “cosmikdebris.”

   74. RationalWiki’s “Legal FAQ” page contains a heading, “What should I do if I feel an

article is attacking me, my company or my product?” beneath which the page states,

        Every article has a talk page, start there, tell where you think we are wrong, provide us
        with specifics and evidence and we will work with you to make a better article. Just
        keep in mind our mission and point of view. Legal threats or angry confrontation will get
        you nowhere; also avoid editing the article directly without first talking about it. You
        will merely be reverted and nothing will change.

   75. The “talk” page for RationalWiki’s article about Mr. Haramein contains numerous

positive comments about Mr. Haramein’s work from several editors.

   76. These positive comments are respectful.

   77. The positive comments raise particularized issues about content of the article.

   78. The positive comments cite sources and explicate the authors’ reasoning clearly.




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    79. The “talk” page contains brief, curt and dismissive responses to these positive comments,

from Gerard and “cosmikdebris,” defending their decisions to override and remove (or “revert”)

earlier edits that were positive or balanced in regard to Mr. Haramein.

    80. Prior to RWF being served a cease-and-desist letter by Plaintiff in March 2024, the

subject webpage falsely stated that Mr. Haramein has never published in a peer-reviewed

scientific journal.

    81. Subsequently, the page was altered to falsely state that no publication in which Mr.

Haramein has published maintains an authentic peer review process.

    82. The “fossil record” on the subject webpage does not reflect these alterations.

    83. The fossil record of a given RationalWiki article is a chronological ledger of all edits,

deletions, alterations, and contributions of content to that particular article, which hyperlinks

each edit, lists the date and time of each edit, and the editor’s IP address or username.

    84. Fossil records on RationalWiki are ordinarily historically complete and unredacted.

    85. Upon information and belief, Toulouse made the aforesaid alterations.

    86. Upon information and belief, Toulouse manipulated RationalWiki’s server or servers to

conceal those alterations from the public-facing “fossil record” of the subject webpage.

    87. In the U.S., the subject webpage (https://rationalwiki.org/wiki/Nassim_Haramein)

appears at the top of Google search results for Mr. Haramein’s name since 2013, and ranks in the

first page of Google search results for Mr. Haramein’s name in Europe.

    88. The subject webpage has cost Mr. Haramein millions of dollars of lost investments in his

private companies, and millions of dollars of lost donations to his non-profit organizations. See

Exhibit A, Affidavit of Nassim Haramein, and Exhibit B, Affidavit of Thibault Verbiest.




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                             ENUMERATED CAUSES OF ACTION

       As a result of Defendants’ misconduct, the Plaintiff has been severely damaged and

hereby pleads the following causes of action against Defendants, whom he seeks to hold liable.

                                            COUNT I
                                           Defamation
                                      Against All Defendants

   89. Plaintiff incorporates by reference all preceding paragraphs.

   90. Defendants published false statements of fact about Plaintiff to third parties.

   91. Defendants published aforesaid false statements without privilege.

   92. Aforesaid third parties understood Defendants’ false statements to have defamatory

meaning.

   93. Defendants communicated those false statements while knowing they are false.

   94. Defendants communicated those false statements with reckless disregard for the truth.

   95. Defendants communicated those false statements negligently.

   96. As a direct and proximate result of Defendants’ defamation, the Plaintiff has suffered and

continues to suffer pecuniary damages and reputational harm, humiliation, mental anguish and

suffering, and is entitled to compensatory damages, punitive damages, pre- and post-judgment

interest, attorney’s fees and all costs of bringing this action, and such other and further relief as

the Court deems just and equitable.

                                           COUNT II
                                           Conspiracy
                                      Against All Defendants

   97. Plaintiff incorporates by reference all preceding paragraphs.

  98. Defendants intentionally agreed to defame Plaintiff.

  99. Defendants agreed to defame Plaintiff with knowledge of unlawfulness.




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  100. One or more Defendants acted overtly in furtherance of aforesaid agreement.

  101. Defendants participated in the maintenance of a webpage dedicated to defaming Plaintiff,

by publishing, editing, and monitoring content on the webpage.

  102. As a direct and proximate result of Defendants’ conspiracy, the Plaintiff has suffered and

continues to suffer pecuniary damages and reputational harm, humiliation, mental anguish and

suffering, and is entitled to compensatory damages, punitive damages, pre- and post-judgment

interest, attorney’s fees and all costs of bringing this action, and such other and further relief as

the Court deems just and equitable.

                                          COUNT III
                      Invasion of Privacy: Commercial Misappropriation
                              Against Defendant Trent Toulouse

  103. Plaintiff incorporates by reference all preceding paragraphs.

  104. Defendant Toulouse (hereinafter under this Count III, “Defendant”) acts as a public

representative of Defendant RationalWiki Foundation, Inc.

  105. Defendant is an academic in a scientific discipline.

  106. Defendant utilizes his role with RationalWiki Foundation, Inc. and RationalWiki.org to

network, promote himself and his work, and further his career.

  107. Defendant, without privilege, misappropriated Plaintiff’s name, and Defendant’s

misappropriataion of Plaintiff’s name is continuous and ongoing.

  108. Defendant appropriated Plaintiff’s name without Plaintiff’s consent, in furtherance of

Defendant’s role with RationalWiki Foundation, Inc. and RationalWiki.org, which Defendant

utilizes to network, promote himself and his work, and further his career.

  109. Defendant appropriated Plaintiff’s name for his benefit.

  110. Defendant appropriated Plaintiff’s name for his pecuniary gain.




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  111. As a direct and proximate result of Defendant’s commercial misappropriation invasion of

privacy, Plaintiff has suffered and continues to suffer pecuniary damages and reputational harm,

humiliation, mental anguish and suffering, and is entitled to compensatory damages, punitive

damages, pre- and post-judgment interest, attorney’s fees and all costs of bringing this action,

and such other and further relief as the Court deems just and equitable.

                                          JURY DEMAND

       Plaintiff demands a trial by jury of all issues so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE the Plaintiff, NASSIM HARAMEIN, hereby prays the Court for relief as

follows:

               I.      Compensatory damages in the amount to be proven at trial.

               II.     Punitive damages.

               III.    Pre- judgment interest.

               IV.     Post-judgment interest.

               V.      Attorney’s fees.

               VI.     All costs of bringing this action.

               VII.    Such other and further relief as the Court deems just and equitable.

                                                               Respectfully Submitted,

                                                               By: s/ Aaron Cress
                                                               Aaron T. Cress, Esq.
                                                               LATE NIGHT LAW
                                                               12231 Academy Rd NE 301-274
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                                                               Attorney for Plaintiff




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